

Matter of McGhee v Annucci (2017 NY Slip Op 08795)





Matter of McGhee v Annucci


2017 NY Slip Op 08795


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

525179

[*1]In the Matter of ANTHONY McGHEE, Petitioner,
vANTHONY J. ANNUCCI, as Acting Commissioner of Corrections and Community Supervision, Respondent.

Calendar Date: October 24, 2017

Before: McCarthy, J.P., Garry, Egan Jr., Clark and Mulvey, JJ.


Anthony McGhee, Coxsackie, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Marcus J. Mastracco of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of respondent finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
McCarthy, J.P., Garry, Egan Jr., Clark and Mulvey, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








